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5
                          IN THE UNITED STATES DISTRICT COURT
6
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
7

8                                               ) Case No.: CR.S. 13-326 MCE
     United States of America,                  )
9                                               ) STIPULATION REGARDING EXCLUDABLE TIME
                  Plaintiff,                    ) PERIODS UNDER SPEEDY TRIAL ACT; FINDINGS
10                                              ) AND ORDER
           vs.                                  )
11                                              ) Court: Hon. Morrison C. England
                                                ) Time:     9:00 a.m.
12   Robert Vargas,et.al.                       ) Date:     June 26, 2014
                                                )
13                Defendants.

14

15                                         STIPULATION

16
           Plaintiff United States of America, by and through its counsel of record, and
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     defendants, by and through their counsel of record, hereby stipulate as follows:
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           1.     By previous order, this matter was set for status on April 3, 2014.
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           2.     By this stipulation, defendants now moves to continue the status
20   conference until June 26, 2014 and to exclude time between April 3, 2014 and June 26,

21   2014 under Local Code T4.   Plaintiff does not oppose this request.

22         3.     The parties agree and stipulate, and request that the Court find the

23   following:

           a.     The government has provided discovery including investigative reports and
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     related documents in electronic form, audio and videotapes and local law enforcement
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     and other witnesses and photographs. The government has provided a laboratory analysis
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     that the defendant will have his own expert re-test.
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           b.     Counsel for defendants also requires additional time to review audiotapes
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     with their clients and consult with a forensic expert to enhance sound quality.




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           c.     Counsel for defendant believes that failure to grant the above-requested
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     continuance would deny them the reasonable time necessary for effective preparation,
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     taking into account the exercise of due diligence.
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           d.     The government does not object to the continuance.
4          e.     Based on the above-stated findings, the ends of justice served by

5    continuing the case as requested outweigh the interest of the public and the

6    defendants in a trial within the original date prescribed by the Speedy Trial Act.

7          f.     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. §

     3161, et seq., within which trial must commence, the time period of April 3, 2014 to
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     June 26, 2014 inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
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     B(iv) [Local Code T4] because it results from a continuance granted by the Court at
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     defendant’s request on the basis of the Court's finding that the ends of justice
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     served by taking such action outweigh the best interest of the public and the
12   defendants in a speedy trial.

13         4.     Nothing in this stipulation and order shall preclude a finding that other

14   provisions of the Speedy Trial Act dictate that additional time periods are excludable

15   from the period within which a trial must commence.

     IT IS SO STIPULATED.
16
     Dated: March 25, 2014            Respectfully submitted,
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18
                                             __/s/ Shari Rusk___
19                                           Shari Rusk
                                             Attorney for Defendant
20                                           Robert Vargas
21
                                             /s/ Dan Koukal_________
22                                           Dan Koukal
                                             Attorney for Defendant
23                                           Robert Guerena
24
                                             /s/ Olusere Olowoyeye
                                             Olusere Olowoyeye
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                                             Assistant United States Attorney
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1                                           ORDER

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3             The Court finds that a continuance is necessary for the reasons stated

4    above and that the ends of justice served by granting a continuance outweigh

5    the best interests of the public and the Defendant in a speedy trial.     The

6    Court finds excludable time through June 26, 2014, based on Local Code T4,

7    giving counsel reasonable time to prepare.

8             IT IS SO ORDERED.

9    Dated:     April 2, 2014

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